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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                          Case No. 17-12560 (JKS)
    LLC, et al., 1

                            Remaining Debtors.



    MICHAEL GOLDBERG, in his capacity as
    Liquidating Trustee of the WOODBRIDGE
    LIQUIDATION TRUST,

                                    Plaintiff,

                      v.
                                                            Adversary No. 22-50516 (JKS)
    ANDREW R. VARA, in his capacity as the
    United States Trustee for Region 3; RAMONA
    D. ELLIOTT, in her capacity as Acting
    Director of the United States Trustee Program;
    and THE UNITED STATES TRUSTEE
    PROGRAM,

                                    Defendants.




             ORDER GRANTING EX PARTE APPLICATION TO AUTOMATICALLY
               SUBSTITUTE PUBLIC OFFICER AS PARTY (FRCP 25; FRBP 7025)

             Upon the Application of Defendants for an Order pursuant to Federal Rule of Civil

Procedure 25 and Federal Rule of Bankruptcy Procedure 7025, and good cause appearing

therefor and it appearing that no notice of the Application is required, it is hereby ordered as



1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are
as follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
LLC (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, CA 91203.
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follows:

       1.     Tara Twomey, Director of the Executive Office for United States Trustees, is

hereby substituted as defendant in place and instead of Ramona Elliott pursuant to Federal Rule

of Civil Procedure 25 and Federal Rule of Bankruptcy Procedure 7025.

       2.     The caption and docket of this case shall hereafter appear as:



                         [Remainder of Page Left Blank Intentionally]




                                                2
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                                Case No. 17-12560 (JKS)
    LLC, et al.,1

                          Remaining Debtors.



    MICHAEL GOLDBERG, in his capacity as
    Liquidating Trustee of the WOODBRIDGE
    LIQUIDATION TRUST,

                                      Plaintiff,

                    v.
                                                                  Adversary No. 22-50516 (JKS)
    ANDREW R. VARA, in his capacity as the
    United States Trustee for Region 3; TARA
    TWOMEY, in her official capacity as Director
    of the Executive Office for United States
    Trustees; and THE UNITED STATES
    TRUSTEE PROGRAM,

                                      Defendants.


1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, CA 91203.




                                                                      J. KATE STICKLES
         Dated: March 22nd, 2023
                                                                      UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware

                                                           3
